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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CR. NO. 21-CR-268 (CJN)
                                              :
JEFFREY MCKELLOP,                             :
                                              :
                       Defendant.             :



                                       STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully provides this status update.

1. On April 3, 2023, the Court ordered that the Defendant be committed to the custody of the

   Attorney General for competency evaluation and restoration pursuant to 18 U.S.C. § 4241(d).

   The Court further ordered the United States to provide status updates to the Court every thirty

   days.

2. Undersigned counsel communicated with an Attorney Advisor at the Federal Bureau of Prisons

   and confirmed that the Defendant arrived at FMC Fort Worth on April 28, 2023. The Bureau

   of Prisons will now conduct the competency evaluation.



                                                      Respectfully submitted,

                                                      MATTHEW GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                                      /s/ Shalin Nohria
                                                      Shalin Nohria
                                                      Assistant United States Attorney
                                                      D.C. Bar No. 1644392
                                                      United States Attorney’s Office
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                                 601 D St. NW, 6.713
                                 Washington, D.C.,
                                 202-344-5763
                                 shalin.nohria@usdoj.gov
